      Case 1-15-43716-nhl                  Doc 276-2           Filed 04/06/18   Entered 04/06/18 09:42:58




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                                   Chapter 7
    JACOB FETMAN,                                                                  Case No. 15-43716-nhl
                                           Debtor.
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                                            ORDER AUTHORIZING AND
                                            APPROVING SETTLEMENT

          Robert J. Musso, (the “Trustee”), Chapter 7 Trustee of the estate of Jacob Fetman (the

“Debtor”), having filed a motion (the “Trustee’s Motion”) pursuant to F.R. Bankr. P. 9019

(“Rule 9019") by Order to Show Cause for approval of a settlement (“Settlement”) annexed as

Exhibit A to the Trustee’s Motion, the Court having reviewed the Trustee’s Motion and the

affirmation of Bruce Weiner, Esq., in support of the Trustee’s Motion, the Court having held a

hearing on April 25, 2018 to consider the Trustee’s Motion and heard argument from the

attorneys for the Trustee, the attorney for the Debtor, and the attorneys for Aish in support of the

Trustee’s Motion, and no one having appeared in opposition to the Trustee’s Motion, and the

Court having found that



          1.         Trustee’s counsel are competent and very experienced in administering cases such

as this one;

          2.         The Settlement is the product of arms-length bargaining;

          3.         Approval of the Settlement meets the criteria set forth in Rule 9019 and the

applicable case law, and it appearing that the Settlement is fair and equitable and in the best

interest of the estate, it is



          ORDERED, that the Settlement is approved; and it is
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       ORDERED, that the Trustee is authorized and directed to execute any documents and

take such action reasonably necessary to effectuate the terms of the Settlement.
